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11 Attorneys for Christina W. Lovato, Chapter 7 Trustee
12                           UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEVADA
13
      In re                                   Lead Case No.: BK-19-50102-gs
14                                            (Chapter 7)
      DOUBLE JUMP, INC.
15                                                    Substantively consolidated with:
16                Debtor.
                                                       19-50130-gs    DC Solar Solutions, Inc.
17                                                     19-50131-gs    DC Solar Distribution, Inc.
                                                       19-50135-gs    DC Solar Freedom, Inc.
18
19
      CHRISTINA W. LOVATO,
20
21            Plaintiff,                              Adversary No.: 21-05036-gs

22    v.                                           MOTION REQUESTING ENTRY OF
                                                   DEFAULT PURSUANT TO F.R.CIV.P. 55
23    JCB CONSULTING, INC. fka J&C                 AND F.R.BANKR.P. 7055
24    CONSULTING, INC.; and CARRIE SUE
      BODEN-CARPOFF aka CAROLINE SUE                  Hearing Date: N/A
25    BODEN-CARPOFF aka CARRIE CARPOFF                Hearing Time: N/A
      aka CARRIE BODEN,
26
27            Defendant.

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            Christina W. Lovato, in her capacity as the chapter 7 trustee (“Trustee” or “Plaintiff”) for
 1
 2   the substantively consolidated bankruptcy estates of DC Solar Solutions, Inc. (“DCSS”), DC Solar

 3   Distribution, Inc. (“DCSD”), DC Solar Freedom, Inc. (“DCSF”), and Double Jump, Inc. (“DJ,”
 4
     and together with DCSS, DCSD, and DCSF, the “Debtor Estate”), and as Plaintiff in this adversary
 5
     proceeding, hereby requests entry of a default pursuant to F.R.Civ.P. 55 and F.R.Bankr.P. 7055.
 6
            1.      Defendant JCB Consulting, Inc. fka J&C Consulting, Inc. (“Defendant”) has failed
 7
 8   to answer or otherwise plead after service.
 9          2.      On February 16, 2022, the Clerk of Court entered the Default of Defendant. Adv.
10
     ECF No. 19.
11
            The Trustee requests entry of Default Judgment as follows:
12
13          1.      Judgment against JCB Consulting, Inc. fka J&C Consulting, Inc. in the amount of

14   $16,330,363.80.
15          This Request is supported by the separately filed Affidavit of Solomon B. Genet.
16
            DATED: February 17, 2022.
17
                                                   HARTMAN & HARTMAN
18
19
                                                   /s/ Jeffrey L. Hartman, Esq.
20                                                 Jeffrey L. Hartman, Esq., Attorney for Trustee
                                                   Christina W. Lovato
21
22                                                 MELAND BUDWICK, P.A.

23                                                 /s/ Alexander E. Brody, Esq.
                                                   Michael S. Budwick, Esq., Admitted Pro Hac Vice
24
                                                   Solomon B. Genet, Esq., Admitted Pro Hac Vice
25                                                 Meaghan E. Murphy, Esq., Admitted Pro Hac Vice
                                                   Gil Ben-Ezra, Esq., Admitted Pro Hac Vice
26                                                 Alexander E. Brody, Esq., Admitted Pro Hac Vice
27                                                 Attorneys for Trustee Christina W. Lovato

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                                 CERTIFICATE OF SERVICE
 1
         I certify that on February 17, 2022, I caused to be served the following document(s):
 2
     MOTION REQUESTING ENTRY OF DEFAULT PURSUANT TO F.R.CIV.P. 55 AND
 3
                           F.R.BANKR.P. 7055
 4
            I caused to be served the above-named document(s) as indicated below:
 5
 6       ✔ a. Via ECF to:

 7              ALEXANDER E. BRODY abrody@melandbudwick.com,

 8              ltannenbaum@melandbudwick.com;ltannenbaum@ecf.courtdrive.com ;

 9              mrbnefs@yahoo.com

10              MICHAEL S. BUDWICK mbudwick@melandbudwick.com,

11              ltannenbaum@melandbudwick.com;ltannenbaum@ecf.courtdrive.com

12              SOLOMON B. GENET            sgenet@melandbudwick.com,

13              ltannenbaum@melandbudwick.com; ltannenbaum@ecf.courtdrive.com

14              JEFFREY L. HARTMAN             notices@bankruptcyreno.com,

15              abg@bankruptcyreno.com

16              CHRISTINA W. LOVATO             trusteelovato@att.net, NV26@ecfcbis.com

17
         ✔ b. Via U.S. Mail, postage prepaid, addressed to:
18
                JCB Consulting, Inc. f/k/a J&C Consulting, Inc.
19              By and through its Registered Agent
20              Adam I. Miller
                18301 Von Karman Avenue, Suite 950
21              Irvine, CA 92612
22
         I declare under penalty of perjury that the foregoing is true and correct.
23
                DATED: February 17, 2022.
24
                                       /s/ Alexander E. Brody, Esq.
25                                     Alexander E. Brody, Esq.

26
27
28



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